         Case 1:23-cv-01599-ABJ Document 75 Filed 06/21/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 SECURITIES AND EXCHANGE
 COMMISSION,

               Plaintiffs,

        v.                                            Civil Action No. 1:23-cv-01599-ABJ

 BINANCE HOLDINGS LIMITED, et al.,

               Defendants.



                               NOTICE OF APPEARANCE

       I, Tiffany J. Smith, hereby enter my appearance in this matter on behalf of BAM Trading
Services Inc. and BAM Management Holdings US Holdings Inc.
.



Dated: June 21, 2023

                                               /s/ Tiffany J. Smith
                                               Tiffany J. Smith (pro hac vice, DC # 991332)
                                               Wilmer Cutler Pickering Hale and Dorr LLP
                                               7 World Trade Center
                                               250 Greenwich Street
                                               New York, NY 10007
                                               Telephone: (212) 230-8800
                                               Fax: (212) 230-8888
                                               Tiffany.Smith@wilmerhale.com




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          Case 1:23-cv-01599-ABJ Document 75 Filed 06/21/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of June 2023, a copy of the foregoing Notice

of Appearance was filed electronically with the Clerk of the Court. This electronic filing

prompted automatic service of the filing to all counsel of record in this case who have obtained

CM/ECF passwords.


                                                     /s/ Tiffany J. Smith
                                                     Tiffany J. Smith




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